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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK


   PRECISION ASSOCIATES, INC.;
   ANYTHING GOES LLC d/b/a MAIL BOXES              Case No.: 08-CV-00042 (JG) (VVP)
   ETC., and JCK INDUSTRIES, INC., on
   behalf of themselves and all others similarly
   situated,

                 Plaintiffs,

          vs.

   PANALPINA WORLD TRANSPORT
   (HOLDING) LTD., et al.,

                 Defendants.


                 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                 MOTION TO APPROVE CLASS NOTICE PROGRAM FOR
                        SECOND ROUND OF SETTLEMENTS
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   I.     INTRODUCTION

          Plaintiffs seek the Court’s approval of this Class Notice Program so that potential Class

   Members may receive notice of the second round of proposed settlements with certain Settling

   Defendants1 constituting a cumulative Settlement Fund of $197,623,497.64.2 Plaintiffs’ Notice


   1
     “Settling Defendants” are: Agility Holdings, Inc.; Agility Logistics Corp.; Geologistics Corp.;
   and Geologistics International Management (Bermuda) Limited (collectively, “Agility”);
   Dachser GmbH & Co., KG, doing business as Dachser Intelligent Logistics and Dachser
   Transport of America, Inc. (collectively, “Dachser”); Deutsche Post AG; Danzas Corporation,
   doing business as DHL Global Forwarding; DHL Express (USA) Inc.; DHL Forwarding Japan
   K.K.; DHL Japan Inc.; Exel Global Logistics, Inc.; Air Express International USA, Inc.
   (collectively, “DHL”) for the Japanese, severed-claims only; DSV A/S; DSV Solutions Holding
   A/S; and DSV Air & Sea Ltd. formerly known as DFDS Transport (HK) Ltd. (together, “DSV”);
   Geodis S.A. and Geodis Wilson USA, Inc. (collectively, “Geodis”); Hankyu Hanshin Express
   Holding Corporation formerly known as Hankyu Express International Co., Ltd and its
   subsidiary, Hankyu Hanshin Express Co., Ltd, and its U.S. subsidiary, Hanshin Air Cargo USA,
   Inc. (collectively, “Hankyu Hanshin”); Japan Aircargo Forwarders Association (“JAFA”);
   Kintetsu World Express, Inc. and its U.S. subsidiary, Kintetsu World Express (U.S.A.), Inc.
   (collectively, “Kintetsu”); “K” Line Logistics, Ltd., and its U.S. subsidiary “K” Line Logistics
   (U.S.A.), Inc. (collectively, ““K” Line”); MOL Logistics (Japan) Co., Ltd., and its U.S.
   subsidiary, MOL Logistics (USA) Inc. (collectively, “MOL Logistics”); Nippon Express Co.,
   Ltd. and its U.S. subsidiary, Nippon Express USA, Inc. (collectively, “Nippon Express”); Nissin
   Corporation and its U.S. subsidiary, Nissin International Transport U.S.A., Inc. (collectively,
   “Nissin”); Yamato Global Logistics Japan Co., Ltd., and its U.S. affiliate, Yamato Transport
   U.S.A. Inc. (collectively, “Yamato”); Yusen Air & Sea Service Co., Ltd. and its U.S. subsidiary,
   Yusen Air & Sea Service (U.S.A.) Inc. (collectively, “Yusen”); Jet Speed Logistics, Ltd. also
   known as Jet Speed Air Cargo Forwarders (HK), Ltd; Jet Speed Logistics (USA), LLC; and Jet-
   Speed Air Cargo Forwarders, Inc. (USA) (collectively, “Jet Speed”); Panalpina World Transport
   (Holding) Ltd. and Panalpina, Inc. (collectively, “Panalpina”); SDV Logistique Internationale
   (“SDV”); Toll Global Forwarding (USA), Inc.; Baltrans Logistics, Inc.; and Toll Holdings, Ltd.
   (collectively, “Toll”); United Parcel Service, Inc. and UPS Supply Chain Solutions, Inc.
   (collectively, “UPS”).
   2
    This Settlement Fund will increase as a result of assignments the Class received from Settling
   Defendants’ receipt of settlement money from the litigation, In re Air Cargo Shipping Services
   Antitrust Litigation, No. 06-MD-1775 (JG) (VVP) (E.D.N.Y.) (“Air Cargo”). The cumulative
   Settlement Fund of $197,623,497.64 includes amounts received in cash payments from the
   Settling Defendants, guaranteed future cash payments, and Air Cargo money actually received
   and deposited to date. The Settlement Fund of $197,623,497.64 does not reflect Air Cargo
   money assigned but not yet received and deposited into the Class’s escrow accounts, with the
   exception of the UPS settlement which Plaintiffs previously represented is projected to reach the
   cap of $25,000,000. See ECF No. 1120.

                                                   1
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   Program, developed with the assistance of experts with extensive experience in global notice

   programs, is a robust, multifaceted approach for delivering clear and understandable information

   to potential Class Members about this case and the proposed settlements.

          Plaintiffs’ Notice Program provides for (1) individual direct mail notice with

   personalized cover letters to potential Class Members whose identities have been derived from

   Defendants’ customer lists, (2) an enhanced paid media notice plan—based on expert

   demographic studies—in various magazines, newspapers, trade journals and websites throughout

   the world in five foreign languages designed to both reach additional members of the Class and

   to help stimulate Class Members to submit claims for proceeds from the Settlement Fund, (3) an

   “earned media” program designed to reach 35,461 global media points, and (4) an updated

   settlement website dedicated to providing Class Members with detailed information regarding

   the case, translated into five languages in addition to English.

          As an element of the Notice Program, Plaintiffs ask this Court to approve a plan to

   provide additional notice to the Class and enhance the rate at which putative Class Members

   submit claims for proceeds from the Settlement Funds for both the first and second round of

   settlements. Class Counsel believes an expenditure of funds for this purpose is warranted,

   appropriate and in the best interests of the Class. In order to achieve this goal, Plaintiffs propose

   (1) sending reminder postcards shortly before the claims filing deadline of August 24, 2015 for

   the first round of settlements,3 (2) sending another reminder postcard shortly before the claims

   filing deadline for the second round of settlements, and (3) a two-phase “claims stimulation

   program” utilizing global keyword searches on the Internet (Google Display Network’s global



   3
    The first round of settlements comprises those earlier settlements that were given final approval
   by this Court in its orders of September 25, 2013. ECF Nos. 879-888.

                                                     2
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   sites4), targeted online media strategies, and the use of creative internet banner advertisements.

   This two-phase program will run shortly before the final approval hearing and shortly before the

   claims filing deadline for the second round of settlements.

          Class Counsel and their notice experts believe this comprehensive, multipronged

   approach provides the Class with the best notice practicable under the circumstances and exceeds

   the due process requirements of Rule 23. The Court should approve Plaintiffs’ Class Notice

   Program.

   II.    STATEMENT OF FACTS AND OVERVIEW OF PROPOSED NOTICE
          PROGRAM

          A.      Summary of Action and First Round of Settlements.

          This antitrust class action is brought on behalf of all persons and entities that directly

   purchased Freight Forwarding Services from Defendants for shipments within, to, or from the

   United States; or purchased Freight Forwarding Services from Defendants in the United States

   regardless of the location of shipment, from January 1, 2000 through January 4, 2011.5

          On August 27, 2013, this Court finally approved settlements and certified settlement

   classes with ten Defendant groups. ECF No. 866, 879-888. Those Defendant groups included:

          (1)     Deutsche Bahn AG, Schenker AG, Schenker, Inc., Bax Global Inc., and DB
                  Schenker (collectively, “Schenker”);

   4
     Google Display Network allows KM to connect with interested visitors at the exact moment
   they are actively engaged in highly relevant content across the entire Google Display Network,
   delivering relevant messages to users based on the type of content they consume. The Google
   Display Network reaches 92% of all Internet users in the US.
   5
    As used in Plaintiffs’ Complaint and this Motion, the term “Freight Forwarding Services”
   includes services relating to the organization of transportation of items via air and ship and can
   include related activities such as customs clearance, warehousing and ground services. The
   providers of this package of services are sometimes referred to as “third party logistics
   providers,” and are referred to herein as “Freight Forwarders.” While air and ocean freight
   forwarding services include ancillary truck and rail services, “Freight Forwarding Services” as
   used herein does not include transportation services related solely to truck and/or rail.
                                                     3
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          (2)     Vantec Corporation and Vantec World Transport (USA), Inc. (collectively,
                  “Vantec”);
          (3)     EGL, Inc. and EGL Eagle Global Logistics, LP (collectively, “EGL”);
          (4)     Expeditors International of Washington, Inc. (“Expeditors”);
          (5)     Nishi-Nippon Railroad Co. Ltd., (“Nishi-Nippon”);
          (6)     United Aircargo Consolidators, Inc. (“UAC”);
          (7)     Kuehne + Nagel International AG and Kuehne + Nagel, Inc. (collectively,
                  “K+N”);
          (8)     Morrison Express Logistics PTE Ltd. (Singapore) and Morrison Express
                  Corporation (U.S.A.) (collectively, “Morrison”);
          (9)     UTi Worldwide, Inc. (“UTi”);
          (10)    ABX Logistics Worldwide NV/SA (“ABX”).
   The settlement fund initially created by these ten, first-round settlements constituted

   $105,611,864.54. That amount has subsequently increased due to the Class’s receipt of

   additional proceeds from the Air Cargo litigation.

          In connection with administering these first-round settlements, on July 2, 2012, Plaintiffs

   filed a motion for approval of a class notice program. ECF No. 596. After reaching settlements

   subsequent to filing the motion, Plaintiffs revised the proposed notice on several occasions. See

   ECF Nos. 654, 656, 672, 692, 705, 722. On February 11, 2013, this Court granted Plaintiffs’

   motion to approve the class notice program in connection with the first round of settlements. See

   Text-Only Order, Feb. 11, 2013.

          B.      Summary of Second Round of Settlements

          After sending notice of the first round of settlements, the Class subsequently reached

   settlements with nineteen additional Defendant families:

          (1)     SDV Logistique Internationale (“SDV”);
          (2)     Panalpina World Transport (Holding) Ltd. and Panalpina, Inc. (collectively,
                  “Panalpina”);

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         (3)    Geodis S.A. and Geodis Wilson USA, Inc. (collectively, “Geodis”);
         (4)    DSV A/S, DSV Solutions Holding A/S and DSV Air & Sea Ltd. f/n/a DFDS
                Transport (HK) Ltd. (collectively, “DSV”);
         (5)    Jet-Speed Logistics, Ltd., Jet-Speed Air Cargo Forwarders (USA) Inc. and Jet-
                Speed Logistics (USA), LLC. (collectively, “Jet-Speed”);
         (6)    Toll Global Forwarding (USA), Inc., Baltrans Logistics, Inc., and Toll Holdings
                Ltd. (collectively, “Toll”);
         (7)    Agility Holdings, Inc., Agility Logistics Corp., Geologistics Corp., and
                Geologistics   International Management (Bermuda) Limited (collectively,
                “Agility”);
         (8)    United Parcel Service, Inc., and UPS Supply Chain Solutions, Inc. (collectively
                “UPS”);
         (9)    Dachser GmbH & Co., KG, doing business as Dachser Intelligent Logistics, and
                Dasher Transport of America, Inc. (collectively “Dachser”);
         (10)   Deutsche Post AG; Danzas Corporation (d/b/a DHL Global Forwarding); DHL
                Express (USA) Inc.; DHL Global Forwarding Japan K.K.; DHL Japan Inc.; Exel
                Global Logistics, Inc.; and Air Express International USA, Inc. (collectively,
                “DHL”) for the severed, Japanese claims only;;
         (11)   Hankyu     Hanshin    Express   Holding    Corporation   f/n/a   Hankyu    Express
                International Co., Ltd. and its subsidiary, Hankyu Hanshin Express Co., Ltd., and
                its U.S. subsidiary, Hanshin Air Cargo USA, Inc. (collectively “Hankyu
                Hanshin”);
         (12)   Japan Aircargo Forwarders Association (“JAFA”);
         (13)   Kintetsu World Express, Inc. and its U.S. subsidiary, Kintetsu World Express
                (U.S.A), Inc. (collectively “Kintetsu”);
         (14)   “K” Line Logistics, Ltd., and its U.S. subsidiary “K” Line Logistics (U.S.A.), Inc.
                (collectively ““K” Line”);
         (15)   MOL Logistics (Japan) Co., Ltd., and its U.S. subsidiary MOL Logistics (USA)
                Inc. (collectively “MOL Logistics”);
         (16)   Nippon Express Co., Ltd and its U.S. subsidiary, Nippon Express USA, Inc.
                (collectively “Nippon Express”);

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          (17)    Nissin Corporation and its U.S. subsidiary, Nissin International Transport U.S.A.,
                  Inc. (collectively “Nissin”);
          (18)    Yamato Global Logistics Japan Co., Ltd., and its U.S. affiliate, Yamato Transport
                  U.S.A. Inc. (collectively “Yamato”);
          (19)    Yusen Air & Sea Service Co., Ltd. and its U.S. subsidiary, Yusen Air & Sea
                  Service (U.S.A.), Inc. (collectively “Yusen”).
   This Court has preliminarily approved each of these second-round settlements.6

          The second-round settlement agreements create a minimum Settlement Fund of

   $197,623,497.64 for the benefit of the Class. That amount will likely grow based on the

   continued receipt of proceeds from the Air Cargo litigation that were negotiated as part of the

   settlement agreements with several of the settling Defendant families.

          C.      Proposed Notice Program

                  1.      Plaintiffs Retained Experienced Notice Experts, Specializing in Class
                          Action Notification Programs and International Notice

          For both the first-round and second-round settlements, Plaintiffs retained Epiq Systems,

   Inc. (“Epiq”) and Kinsella Media, LLC (“KM”) to design and implement a comprehensive class

   notice program. Epiq is experienced in implementing worldwide notice in class action litigation

   and has administered more than 1,000 settlements in some of the largest and most complex cases

   ever settled, including in antitrust class actions. See Declaration of Julie Redell ¶ 2 (“Redell

   Decl.”). Epiq’s class action case administration services include coordination of all notice

   requirements, receipt and processing of opt-outs by potential class members, coordination with

   the United States Postal Service, claims database management, claim adjudication, fund

   management, and distribution services. Id., ¶¶ 3-5. In this case, Epiq is responsible for mailing



   6
    See ECF No. 894 (SDV); ECF No. 1102 (Panalpina, Geodis, DSV, Jet-Speed); ECF No. 1103
   (Toll); ECF No. 1124 (Agility, UPS); ECF No. 1147 (Dachser), ECF No. 1189 (DHL and
   Japanese Defendants).
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   the direct notice to potential Class Members. Id., ¶¶ 5-9. Epiq uses several mechanisms to

   ensure that the mailed notice is delivered to each Class Member. Id. The direct mail notice will

   include the summary notice, in addition, each putative Class member will receive a personalized

   cover letter and the claim form.

          KM is an advertising and legal notification firm in Washington D.C., specializing in the

   design and implementation of class action and bankruptcy notification programs. See

   Declaration of Katherine Kinsella ¶¶ 1, 4 (“Kinsella Decl.”). KM has developed and directed

   some of the largest and most complex national notification programs in the country. KM has

   worked on notification programs in antitrust, bankruptcy, consumer fraud, mass tort and product

   liability litigation. Id., ¶ 1-4. Importantly, KM is also well known for devising international

   notice programs. See In re Holocaust Victims Assets Litig., No. CV 96-4849 (E.D.N.Y.);

   Continental Casualty Co. v. Rudd, C.A., No. 6:94cv458 (E.D. Tex.) (involving publication notice

   worldwide in 26 countries); In re Owens Corning, Chapter 11, No. 00-03836) (Bankr. D. Del.)

   (publication notice in 57 countries); The Author’s Guild Inc. v. Google, Inc., No. 05 CV 8136

   (S.D.N.Y.) (involving notice in 214 countries and 72 languages). Ms. Kinsella is recognized by

   both state and federal courts as an expert in legal notification. Kinsella Decl., ¶¶ 5-7. She has

   been published extensively, writing in the areas of class notice and claims administration. Id., ¶¶

   8-9.

                  2.      Kinsella Media’s Methodology

          As discussed in Ms. Kinsella’s declaration, when designing a notice program, KM

   conducts detailed research regarding the demographic characteristics of the affected class

   members and the appropriate mechanisms by which those class members may be reached. KM

   then tailors its notice program to its research to provide the best practicable notice to members of

   the class. See id., ¶¶ 19-41, 48, 50.
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          The Notice Program designed by KM is tailored to meet the particular challenges of

   reaching Class Members in foreign countries. Plaintiffs’ direct mail notice—with a personalized

   cover letter, summary notice and claim form—will be sent to approximately 1.67 million de-

   duplicated contact records, which include names and addresses. Redell Decl., ¶ 8(e). The direct

   mail notice will be sent in English, Chinese (Simplified and Traditional), German, Hindi and

   Japanese to ensure comprehension. Kinsella Decl., ¶ 15-18. The enhanced paid and earned

   media programs are based, in part, on KM’s analysis of the demographics of the Class. Id., ¶¶

   19-41. In addition to appearing in international newspapers, such as Financial Times and The

   Wall Street Journal, the publication notice will also appear in Bloomberg Businessweek,

   Fortune, and The Economist, six international business publications, trade publications, and 22

   in-country newspapers in China, Germany, Hong Kong, India, Japan, Taiwan, and the United

   Kingdom in appropriate languages. Id.

          The Notice Program also includes other measures to ensure that the summary notice

   reaches the putative Class. Kinsella Decl. ¶ 48. The “earned media” program will have a Press

   Release distributed on the following PR Newswire News Lines: USI National Wire, Canada

   Bilingual Media, Full Latin America, Pan Europe, Pan Asia, Middle East, Israel, and Essential

   Africa. The News Release will appear in 18 different languages. Id. Finally, Plaintiffs’ updated

   settlement website will include notices in English, Chinese (Simplified and Traditional),

   German, Hindi and Japanese. Downloadable material from the website is also available in those

   languages. Id., ¶ 49.

          Plaintiffs’ experts estimate that direct mail notice by itself will reach 75% of Class

   Members. Id., ¶ 18, 50. In combination with its extensive paid and earned media program, KM




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   opines that Plaintiffs’ Plan provides the best notice practicable under the circumstances and fully

   complies with Rule 23. Id., ¶ 56.

   III.   ARGUMENT

          Rule 23 requires that notice be given in a reasonable manner to all class members who

   would be bound by a proposed settlement. See Fed. R. Civ. P. 23. Where, as in this case,

   approval of the class notice program is brought in conjunction with certification of a Settlement

   Class under Rule 23(b)(3), the more detailed provisions of Rule 23(c)(2)(B) apply. “[T]he Court

   must direct to class members the best notice that is practicable under the circumstances,

   including individual notice to all members who can be identified through reasonable effort.”

   Fed. R. Civ. P. 23(c)(2)(B).

          Notice of a proposed settlement is adequate and satisfies Rule 23 and due process if it

   “fairly apprise[s] the prospective members of the class of the terms of the proposed settlement

   and of the options that are open to them in connection with the proceedings.” Wal-Mart Stores,

   Inc. v. Visa U.S.A. Inc., 396 F.3d 96, 114-15 (2d Cir. 2005). Class notice must afford potential

   Class Members the ability to “make an informed decision about their participation [in the

   litigation].” Manual For Complex Litigation (Fourth) § 21.311, at 289 (2004).

          A.      The Form of Plaintiffs’ Proposed Notice Satisfies Rule 23

          Under Rule 23(c)(2)(B), the proposed class notice

                  must clearly and concisely state in plain, easily understood language: (i) the
                  nature of the action; (ii) the definition of the class certified; (iii) the class claims,
                  issues, or defenses; (iv) that a class member may enter an appearance through an
                  attorney if the member so desires; (v) that the court will exclude from the class
                  any member who requests exclusion; (vi) the time and manner for requesting
                  exclusion; and (vii) the binding effect of a class judgment on members under Rule
                  23(c)(3).

   Fed. R. Civ. P. 23(c)(2)(B).

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          As demonstrated in Exhibits 4-6 to the Kinsella Declaration, Plaintiffs’ Class Notice

   Program addresses each of Rule 23’s requirements in a clear and easily understood manner.

   Plaintiffs’ notice expert has opined that the Program meets the requirements of Rule 23 and

   communicates information by adhering to the plain language requirement. Kinsella Decl., ¶¶ 13,

   55-56. Plaintiffs’ Notice Program satisfies Rule 23 and due process and should be approved by

   this Court.

          B.      Plaintiffs’ Notice Program Provides the Best Notice Practicable Under the
                  Circumstances

          Rule 23(c)(2)(B) requires the “best notice that is practicable under the circumstances.”

   Fed. R. Civ. P. 23(c)(2)(B). The following factors demonstrate that Plaintiffs’ Notice Program

   meets this standard.

                  1.      Direct Mail Notice

          Rule 23(c)(2)(B) requires individual notice to all Class Members who can be identified

   through reasonable effort. See also Manual For Complex Litigation (Fourth), § 21.311, at 292

   (2004) (individual notice generally is preferable); Oppenheimer Fund, Inc. v. Sanders, 437 U.S.

   340, 356 (1978).

          In this case, under agreements with the Settling Defendants and this Court’s order to all

   Defendants (ECF No. 536), settling and non-settling Defendants alike have provided from

   reasonably available records their customer contact data containing the names and addresses of

   potential Settlement Class Members.

          Epiq estimates that direct mail notice will be sent to approximately 1.67 million potential

   Class Members identified from de-duplicated contact records. Redell Decl., ¶ 8(e). The direct

   mail notice will consist of a personalized cover letter, a summary notice of the settlements and a

   claim form. Kinsella ¶ 12(a), 15, 42. The proposed summary notice informs Class Members of


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   their rights in this action and how they may participate. Id. ¶ 13, 43-47. Included in the

   summary notice is the settlement website address. Id. Potential Class Members may download

   the more detailed notice from that website, which describes the settlements with more

   particularity. The website provides information about the case, persons included in the

   settlements, the benefits of the settlements, how to opt out, counsel involved in the case, how to

   object, as well as information about attorneys’ fees and about the Court’s fairness hearing. Id.

   The summary notice indicates that the mailing is court-approved. Id. As noted above, the direct

   mail notice will be provided in English, Chinese (Simplified and Traditional), German, Hindi

   and Japanese to ensure that it has the best chance of being understood by Class Members who

   receive it. Ms. Kinsella expects that under the Program, direct mail notice is estimated to reach

   75% of the Class. Id., ¶ 18, 50. Included in the direct mail notice at additional expense is a

   personalized cover letter. In the experience of the notice experts, including a personalized cover

   letter increases the chances that a putative Class Member will review the notice, become familiar

   with the settlements and ultimately submit a claim. Id., ¶ 15.

                  2.      The Media Notice Program

          Plaintiffs’ Notice Program also includes an enhanced media notice program, using both

   paid and earned media. Id., ¶¶ 19-14. Providing notice through paid media is recognized by

   courts as a proper means to supplement a direct mail notice program and satisfy Rule 23 and due

   process. See In re Wal-Mart Stores, Inc., No. 06-2069, 2008 U.S. Dist. LEXIS 109446, at *8

   (N.D. Cal. May 5, 2008); see also Marin v. Evans, No. CV-096-3090, 2008 U.S. Dist. LEXIS

   74722, at *13 (E.D. Wash. Sept. 11, 2008); Manual For Complex Litigation, (Fourth) § 21.311,

   at 288 (“Publication in magazines, newspapers, or trade journals may be necessary . . . as a

   supplement to other notice efforts.”). If the case involves international commerce, international

   publication notice is appropriate. See In re Mexican Money Transfer Litig., 164 F.Supp.2d 1002,
                                                   11
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   1020 (N.D. Ill. 2000) (approving a class notice program that “was provided via television, radio

   and newspaper advertising in the United States and Mexico.”).

          In order to account for Class Members who may have moved or otherwise cannot be

   located via Defendants’ customer contact data, Plaintiffs have proposed a multi-layered media

   program. As the Kinsella declaration explains, Plaintiffs propose to focus the publication and

   Internet media in tiers based on the countries where the majority of Class Members reside – the

   United States (i.e., Tier 1) and International (i.e., “Tier 2”). Kinsella Decl. ¶¶ 19-28. This focus

   provides broad supplemental notice through a variety of paid media vehicles in various regions

   affected by the price-fixing scheme. The publication notice will appear in magazines (Time),

   international newspapers (Financial Times and The Wall Street Journal), business magazines

   specifically targeted at putative Class Members (Bloomberg Businessweek, Fortune, and The

   Economist), international business publications (Der Spiegel, India Today, Bloomberg Business

   Week (Hong Kong Edition), Bloomberg Business Week (China Edition), and Nikkei Business),

   22 in-country newspapers ranging from Hong Kong to the United Kingdom, trade publications

   and trade websites in appropriate languages. Kinsella Decl., ¶¶ 29-41. At additional expense,

   the foregoing publication notice will also be done in a larger print advertisement size with a

   succinct and informative headline to increase the likelihood that putative Class Members see the

   notice and react accordingly. In some instances, color may be used to enhance the noticeability

   of the advertisements when additional costs are not incurred.

          The enhanced media plan also includes a significant online media strategy. Banner and

   text ads will also appear on various trade websites for four weeks. Id. ¶¶ 12(e), 31, 36, 41, 47;

   see also Manual For Complex Litigation (Fourth) § 21.311, at 288 (“Posting notices on dedicated

   Internet sites, likely to be visited by class members and linked to more detailed certification



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   information, is a useful supplement to individual notice . . . .”). These online ads will be done in

   a dynamic form7, which further increases the likelihood that putative Class Members see the

   notice. Advertisements will also be placed on the networks of Advertising.com and Xaxis.com.

   The media plan will also utilize global keyword searches and Google’s global display network.

   Kinsella Decl. ¶¶ 12(e), 31, 36, 41, 47

          This robust paid media campaign will supplement the already comprehensive direct mail

   notice provided to potential Class Members. According to Ms. Kinsella, “the Notice Program as

   directed by Class Counsel is carefully crafted with multiple layers of notice including,:

   significant direct notice; notice in freight forward trade publications, concentrated in-country

   paid media notice including business and consumer publications; and expanded global

   publication notice and outreach through earned media. It is further supplemented by postcard

   and Internet notice to stimulate claims filing. It is my opinion that the Notice Program as

   designed is not only fully compliant with Fed. R. Civ. Proc. 23, but also exceeds the requirement

   of minimal due process.” Id., ¶ 56.

          In order to amplify the enhanced media plan, Plaintiffs will conduct an “earned media”

   program to provide additional notice to Class Members. Id., ¶ 48. The earned program involves

   a press release highlighting the toll-free number and settlement website so Class Members may

   obtain detailed information. The press release will be distributed on PR Newswire’s Premier

   Global Service, and will reach approximately 35,461 global media points. It will be

   disseminated in 19 different languages. Id.; see also Manual For Complex Litigation (Fourth)

   §21.311, at 290 (“Notice may be published in more than one language if appropriate to the

   demographics of the case.”).


   7
    Online ads will be in the form of a flash banner ad. Flash ads are dynamic ads that include
   moving images and text. Kinsella Decl., ¶ 47.
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                  3.       Electronic Website

          Several courts have held that establishing a website is an appropriate method of providing

   Class Members with notice and information. See, e.g., Schwarm v. Craighead, No. Civ. 05-

   01304, 2011 U.S. Dist. LEXIS 73752, at *7-8 (E.D. Cal. July 8, 2011) (approving website notice

   as one feature of the notice plan); Adoma v. Univ. of Phoenix, Inc., No. CIV. S-10-0059, 2010

   U.S. Dist. LEXIS 114503, at *8-9 (E.D. Cal. Oct. 15, 2010) (website sufficient for providing

   case documents and contact information and consistent with Federal Judicial Center’s model

   class notice); accord De La O v. Arnold-Williams, No. CV-04-0192, 2008 U.S. Dist. LEXIS

   62265, at *10 (E.D. Wash. Aug. 13, 2008).

          To round out the vigorous notice plan outlined above, Plaintiffs have established and will

   update the settlement website. This website enables potential Class Members to receive more

   detailed information regarding the case. The website notices are downloadable and will be

   available in English, Chinese (Simplified and Traditional), German, Hindi and Japanese.

   Kinsella Decl., ¶ 49.

          C.      The Proposed Notice Adequately Explains Class Members’ Rights to Exclude
                  Themselves from the Settlement Classes

          The language used in Plaintiffs’ Notice Program adequately explains Class Members’

   right to opt-out of the settlement and informs potential Class Members in detail how to write to

   the Claims Administrator and request exclusion from one or more of the settlements. See id., Ex.

   6.

          D.      The Proposed Class Notice Program is Designed to Encourage the Filing of
                  Claims by Class Members

          In addition to the foregoing, Class Counsel has proposed a Plan to encourage putative

   Class Members to file claims for the proceeds of the settlements reached in this litigation. First,

   Class Counsel proposes sending a postcard shortly before the August 24, 2015 claims filing
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   deadline for the first-round settlements to remind putative Class Members to submit claims.

   Second, Class Counsel proposes sending another postcard shortly before the claims filing

   deadline for the second round of settlements. Kinsella Media’s experience shows that such

   reminder postcards greatly increase the rate at which Class Members submit claims in class

   action litigation. Kinsella Decl. ¶ 51-54. Class Counsel also proposes a media program

   designed over two phases to encourage Class Members to submit claims. The first phase of the

   program will occur shortly before the fairness hearing on the second round of settlements, and

   the second phase will occur shortly before the claims filing deadline for the second round of

   settlements. The program will utilize global newspapers, trade websites, a global internet

   keyword strategy (Google Display Network), online targeted media tactics, and dynamic banner

   advertisements. Id.

          E.      Approval of Costs Associated with Class Notice

          Finally, Class Counsel requests that the Court authorize them to pay the invoices of Epiq

   and Kinsella Media out of the Settlement Funds for the costs associated with implementing and

   carrying out the foregoing Class Notice Program. Epiq estimates that the costs associated with

   direct mail notice will require $3,056,188.0. Kinsella Media estimates the costs associated with

   the media portion of the Class Notice program to be $2,586,111. This amount does not include

   additional costs related to phase 2 of the notice program and stimulating claims that will be

   incurred after final approval. Class Counsel will outline those costs in connection with final

   approval. Kinsella Decl. ¶ 55. The Settlement Agreements provide a certain amount of

   nonrefundable money for purposes of class notice. These amounts are not required to be

   refunded to the Settling Defendants in the event that this Court does not finally approve the




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   settlements. The combined amount of $5,636,299.00 for class notice does not exceed the non-

   refundable amount provided for in the settlement agreements.

   IV.      CONCLUSION

            Where plaintiffs have utilized multifaceted notice techniques, such as the ones here,

   courts have approved the notice plans and found them in compliance with Rule 23 and due

   process. See, e.g., Shurland v. Bacci Café & Pizzeria on Ogden, Inc., 270 F.R.D. 139, 144-46

   (N.D. Ill. 2010) (discussing the combined effect of individual notice, publication notice in

   demographically targeted publications, and websites dedicated to the case ); In re Domestic Air

   Transp. Antitrust Litig., 14 F.R.D. 534, 550-51 (N.D. Ga. 1992) (finding that direct mail and

   publication notice satisfies due process requirements); accord Kaufman v. Am. Express Travel

   Related Serv., Co., No. 07 C 1707, 2010 U.S. Dist. LEXIS 86494, at *8-9 (N.D. Ill. Aug. 19,

   2010).

            Plaintiffs’ Notice Program is a robust, multifaceted approach designed to provide

   potential Class Members with clear and understandable information about this case and its

   pending settlements reached to date, through: (1) direct mail notice, (2) paid media notice in

   targeted print and electronic media throughout the world in a variety of foreign languages, (3)

   earned media designed to reach approximately 35,461 global media points, (4) an informational

   settlement website, and (5) a claims stimulation program. This comprehensive, multipronged

   approach provides the Class with the best notice practicable under the circumstances, and clearly

   satisfies Rule 23 and due process. The Court should approve Plaintiffs’ Class Notice Program.

   Dated:    May 21, 2015                                Respectfully Submitted,

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